                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )       No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

DEFENDANTS’ NOTICE OF APPEAL TO THE U.S. COURT OF APPEALS FOR THE
                         FIRST CIRCUIT




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NOTICE OF APPEAL TO THE U.S. COURT OF APPEALS FOR THE FIRST CIRCUIT

       Notice is hereby given that the Defendants appeal to the United States Court of Appeals

for the First Circuit from the Court’s temporary restraining order (ECF No. 34) entered in this

action on March 28, 2025.


Respectfully submitted,

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Acting Assistant Attorney General

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Assistant Director

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/s/Mary L. Larakers
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                                 CERTIFICATE OF SERVICE

        I, Mary Larakers, Senior Litigation Counsel, hereby certify that this document filed through
the ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                      /s/ Mary L. Larakers
                                                      Mary L. Larakers
Dated: March 28, 2025                                 Senior Litigation Counsel




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